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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION AT LEXINGTON

                                                                      ELECTRONICALLY FILED

 IN RE CLASSICSTAR MARE LEASE                           )     MDL No. 1877
 LITIGATION                                             )
                                                        )
                                                        )     Master File:
 AND                                                    )     Civil Action No.: 5:07-cv-353-JMH
                                                        )
 WEST HILLS FARMS, LLC, ET AL.                          )
                                                        )
                                PLAINTIFFS              )
 V.                                                     )     CASE NO.: 06-243-JMH
                                                        )
 CLASSICSTAR, LLC, ET AL.                               )
                                                        )
                                DEFENDANTS              )


                                  PLAINTIFFS’ WITNESS LIST


           Pursuant to this Court’s Order of October 8, 2010, the Plaintiffs, West Hills Farms, LLC,

 Arbor Farms, LLC, Nelson Breeders, LLC, MacDonald Stables, LLC and Monica and Jaswinder

 Grover (collectively “Plaintiffs”), submit their following list of witnesses to be called at trial.

      1.     Jaswinder Grover – Dr. Grover will testify regarding his participation in the
             ClassicStar Mare Lease Program.

      2.     Monica Grover – Ms. Grover will testify regarding her participation in the ClassicStar
             Mare Lease Program.

      3.     Lynn MacDonald – Mr. MacDonald will testify regarding his participation in the
             ClassicStar Mare Lease Program.

      4.     Bryan Nelson – Mr. Nelson will testify regarding his participation in the ClassicStar
             Mare Lease Program.
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    5.    Walter Remmers - Mr. Remmers will testify regarding his participation in the
          ClassicStar Mare Lease Program.

    6.    Dennis Sackhoff – Mr. Sackhoff will testify regarding his participation in the
          ClassicStar Mare Lease Program.

    7.    Mary Sackhoff – Ms. Sackhoff will testify regarding her participation in the
          ClassicStar Mare Lease Program.

    8.    Lincoln Collins – Mr. Collins will testify in accordance with the opinions expressed in
          his report and deposition.

    9.    Professor William Fortune - Professor Fortune will testify in accordance with the
          opinions expressed in his report.

    10.   George N. Keeney, III – Mr. Keeney will testify in accordance with the opinions
          expressed in his report and deposition.

    11.   Frank Merrill – Mr. Merrill will testify in accordance with the opinions expressed in
          his report and deposition.

    12.   Professor Edward Morse – Professor Morse will testify in accordance with the
          opinions expressed in his report and deposition.

    13.   Susan Bunning, 133 Eastover Drive, Lexington, Kentucky - Ms. Bunning is expected
          to testify in accordance with her deposition.

    14.   Ted Berge, 2136 Lakeside Court, Lexington, Kentucky – Mr. Berge is expected to
          testify regarding the circumstances of the Fifth Third Bank loan to ClassicStar LLC,
          and his dealings with GeoStar Corporation and its principals.

    15.   Fifth Third Bank representative with knowledge of ClassicStar LLC loans.




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    16.   James D. Lyon, Esq., 209 East High Street, Lexington, KY 40507. Mr. Lyon will
          testify as to his work and investigations in the course of his service as Trustee of the
          ClassicStar bankruptcy.

    17.   Nick Nicholson, President and CEO, Keeneland, 4201 Versailles Road, Lexington,
          Kentucky – Mr. Nicholson is expected to testify regarding relevant thoroughbred sales
          information.

    18.   Douglas Anderson – Mr. Anderson will testify by deposition in accordance with the
          designations on attached Exhibit A.

    19.   Paul Bangerter – Mr. Bangerter will testify by deposition in accordance with the
          designations on attached Exhibit A.

    20.   Thomas J. Bissmeyer – Mr. Bissmeyer will testify by deposition in accordance with
          the designations on attached Exhibit A.

    21.   William Bolles – Mr. Bolles will testify by deposition in accordance with the
          designations on attached Exhibit A.

    22.   Lee Brower – Mr. Brower will testify by deposition in accordance with the
          designations on attached Exhibit A.

    23.   Dennis Cipcich – Mr. Cipcich will testify by deposition in accordance with the
          designations on attached Exhibit A.

    24.   Jeffrey Culp – Mr. Culp will testify by deposition in accordance with the designations
          on attached Exhibit A.

    25.   Danny Dougan – Mr. Dougan will testify by deposition in accordance with the
          designations on attached Exhibit A.

    26.   Byron Dyson – Mr. Dyson will testify by deposition in accordance with the designations
          on attached Exhibit A.




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    27.   Tony Ferguson – Mr. Ferguson will testify by deposition in accordance with the
          designations on attached Exhibit A.

    28.   Jon Freston – Mr. Freston will testify by deposition in accordance with the designations
          on attached Exhibit A.

    29.   Michael Gerlich – Mr. Gerlich will testify by deposition in accordance with the
          designations on attached Exhibit A.

    30.   Geostar Corporation through its Rule 30(b)(6) designee, William Bolles – Mr. Bolles will
          testify by deposition in accordance with the designations on attached Exhibit A.

    31.   Rex Gingerich – Mr. Gingerich will testify by deposition in accordance with the
          designations on attached Exhibit A.

    32.   Wesley Johnson – Mr. Johnson will testify by deposition in accordance with the
          designations on attached Exhibit A.

    33.   Justin Jones - Mr. Jones will testify by deposition in accordance with the designations
          on attached Exhibit A.

    34.   Robert L. Keys – Mr. Keys will testify by deposition in accordance with the
          designations on attached Exhibit A.

    35.   Michael King – Mr. King will testify by deposition in accordance with the
          designations on attached Exhibit A.

    36.   John Knowles – Mr. Knowles will testify by deposition in accordance with the
          designations on attached Exhibit A.

    37.   Frederick Lambert – Mr. Lambert will testify by deposition in accordance with the
          designations on attached Exhibit A.

    38.   Mindi Morishita – Ms. Morishita will testify by deposition in accordance with the
          designations on attached Exhibit A.



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    39.   Toby Norton – Mr.       Norton will testify by deposition in accordance with the
          designations on attached Exhibit A.

    40.   Andrew Osmundson – Mr. Osmundson will testify by deposition in accordance with the
          designations on attached Exhibit A.

    41.   William Pederson – Mr. Pederson will testify by deposition in accordance with the
          designations on attached Exhibit A.

    42.   Pinnacle Gas Resources, Inc. through its Rule 30(b)(6) designee, Peter G.
          Schoonmaker – Mr. Schoonmaker will testify by deposition in accordance with the
          designations on attached Exhibit A.

    43.   Scott Plummer – Mr. Plummer will testify by deposition in accordance with the
          designations on attached Exhibit A.

    44.   Shane Plummer – Mr. Plummer will testify by deposition in accordance with the
          designations on attached Exhibit A.

    45.   Spencer David Plummer – Mr. Plummer will testify by deposition in accordance with the
          designations on attached Exhibit A.

    46.   James R. Porter – Mr. Porter will testify by deposition in accordance with the
          designations on attached Exhibit A.

    47.   Randall Scott Robinson – Mr. Robinson will testify by deposition in accordance with
          the designations on attached Exhibit A.

    48.   David C. Shoemaker – Mr. Shoemaker will testify by deposition in accordance with the
          designations on attached Exhibit A.

    49.   Carol Shrives – Ms. Shrives will testify by deposition in accordance with the
          designations on attached Exhibit A.




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    50.   Gary Thomson – Mr. Thomson will testify by deposition in accordance with the
          designations on attached Exhibit A.

    51.   Chad Vanderlinden – Mr. Vanderlinden will testify by deposition in accordance with
          the designations on attached Exhibit A.

    52.   Any witnesses needed to authenticate documents to be produced at trial.

    53.   Any witnesses listed or called by any other party.

    54.   Any person needed to rebut or impeach the testimony of any person called as a witness
          at trial.




                                                    Respectfully submitted,


                                                    /s/ Barry D. Hunter
                                                    Paul E. Sullivan
                                                    Barry D. Hunter
                                                    Medrith Lee Norman
                                                    Frost Brown Todd LLC
                                                    250 West Main Street, Suite 2700
                                                    Lexington, Kentucky 40507-1749
                                                    Telephone: (859) 231-0000
                                                    Facsimile:     (859) 231-0011

                                                    Robert C. Webb
                                                    Frost Brown Todd LLC
                                                    400 West Market Street, 32nd Floor
                                                    Louisville, Kentucky 40202-3363
                                                    Telephone: (502) 589-5400
                                                    Facsimile:    (502) 581-1087

                                                    Attorneys for West Hills Farms, LLC, Arbor
                                                    Farms, LLC, Nelson Breeders, LLC,
                                                    MacDonald Stables, LLC and Monica and
                                                    Jaswinder Grover




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                                       CERTIFICATE OF SERVICE

          This is to certify that a true and correct copy of the foregoing has been electronically filed

 on August 8, 2011, with the Clerk of the Court by using the CM/ECF system, which will send a

 notice of electronic filing to the parties of record.




                                                         /s/ Barry D. Hunter
                                                         Counsel for Plaintiffs West Hills Farms,
                                                         LLC, Arbor Farms, LLC, Nelson Breeders,
                                                         LLC, MacDonald Stables, LLC and Monica
                                                         and Jaswinder Grover




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